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                         EXHIBIT A
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                    AMERICAN RESCUE PLAN ACT OF 2021

                        Pl 117-2, March 11, 2021, 135 Stat 4

               Sec. 2302. Funding For Vaccine Confidence Activities.

In addition to amounts otherwise available, there is appropriated to the Secretary for
fiscal year 2021, out of any money in the Treasury not otherwise appropriated,
$1,000,000,000, to remain available until expended, to carry out activities, act-
ing through the Director of the Centers for Disease Control and Prevention—
(1) to strengthen vaccine confidence in the United States, including its territories and
possessions;
(2) to provide further information and education with respect to vaccines licensed
under section 351 of the Public Health Service Act (42 U.S.C. 262) or authorized un-
der section 564 of the Federal Food, Drug, and Cosmetic Act (21 U.S.C. 360bbb–3);
and
(3) to improve rates of vaccination throughout the United States, including its terri-
tories and possessions, including through activities described in section 313 of the
Public Health Service Act, as amended by section 311 of division BB of the Consoli-
dated Appropriations Act, 2021 (Public Law 116–260).
